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                                                                                FILED
                             UNITED STATES DISTRICT COURT                          JUN 2 6        2020
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION                         CLERK,   U.S.   QISTRICT
                                                                             WESTERN PItRICT OF          S
                                                                              BY
LINDA JANN LEWIS, MADISON LEE,
ELLEN SWEETS, BENNY
                                                                                                     bY
ALEXANDER, GEORGE MORGAN,
VOTO LATINO, TEXAS STATE
CONFERENCE OF THE NATIONAL                           Civil Action No. 5:20-cv-00577-OLG
ASSOCIATION FOR THE
ADVANCEMENT OF COLORED
PEOPLE; and TEXAS ALLIANCE FOR
RETIRED AMERICANS,
        Plaintjffs,


 V.




RUTH HUGHS, in her official capacity as
the Texas Secretary of State,
        Defendant.


                                             ORDER

       On this day, the Court considered the status of the above-captioned case. On June 22,

2020, Plaintiffs filed their Motion for Preliminary Injunction and Memorandum of Law in

Support (docket no. 20). Under Local Rule CV-7(e)(2), the Secretary of State's response would

be due on June 29, 2020. However, on June 23, 2020, the Secretary of State filed Defendant's

Motion for Extension of Time to File a Response to Plaintiffs' Motion for Preliminary Injunction

(docket no. 25). Specifically, the Secretary of State requested an extension of the response

deadline to 7 days following the discovery deadline to be set by the Court, citing in part the

expert reports required to rebut Plaintiffs' arguments. See docket no. 25. Under Local Rule CV-

7(e)(2), Plaintiffs' response to this motion is due on June 30, 2020.

       In light   of this schedule, the Court hereby VACATES the June 29, 2020 deadline for the

Secretary's response to Plaintiffs' Motion for Preliminary Injunction. The Court ORDERS the

parties to confer and submit proposed scheduling orders for discovery and briefing for the
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Motion for Preliminary Injunction by Thursday, July 2, 2020. The Court will issue a scheduling

order, including resetting the Secretary's response deadline, after consideration of the parties'

submissions.

       It is so ORDERED

       SIGNED this             day of June, 2020.




                                                     ORLANDO L. GARCIA
                                             CHIEF UNITED STATES DISTRICT JUDGE




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